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                    Exhibit 1
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           City Plating and Polishing, LLC, et al

                                                                                  1:19-cv-374-SL
    St. Augustine School of Medical Assistants, LLC




                                                        Tucows, Inc.
                                     96 Mowat Avenue, Toronto, Ontario, M6K 3M1, Canada


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          Documents sufficient to identify the name and address of the owner of the website www.medassistant.org
          during the period February 20, 2015 through the date of this subpoena.

          Savett Law Offices LLC, attn: Adam T. Savett
          2764 Carole Lane, Allentown PA 18104
                                                                                 09/09/2019 5:00 pm

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            08/19/2019



                                                                                      /s/ Adam T. Savett



                                                                                                        Plaintiffs,
City Plating and Polishing, LLC, et al
 Adam T. Savett, Savett Law Offices LLC, 2764 Carole Lane, Allentown PA 18104 (610) 621-4550, adam@savettlaw.com
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